                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York


NB/CCC:MRM                                        610 Federal Plaza
F. #2014R00668                                    Central Islip, New York 11722


                                                  July 21, 2020

By Email and ECF
The Honorable Joanna Seybert
United States District Court
Eastern District of New York
1030 Federal Plaza
Central Islip, New York 11722

              Re:     United States v. Raphael Osborne
                      Criminal Docket No. 14-264 (S-5) (JS)

Dear Judge Seybert:

               The government respectfully submits this letter response in opposition to
petitioner Raphael Osborne’s petition pursuant to 28 U.S.C. § 2255 to vacate his conviction.
See Defendant’s 28 U.S.C. § 2255 Motion, 14-CR-264 (JS), ECF Docket No. 603 (“Def. Mot.”
or the “petition”). On April 11, 2016, following a month long trial, a jury convicted Osborne
of all twenty-one counts of a superseding indictment charging him with: (1) racketeering in
violation of 18 U.S.C. § 1962(c) (Count One); (2) racketeering conspiracy in violation of 18
U.S.C. § 1962(d) (Count Two); (3) Hobbs Act robbery conspiracy (“the Fish robbery”) in
violation of 18 U.S.C. § 1951(a) (Count Three); (4) Hobbs Act robbery (“the Fish robbery”)
in violation of 18 U.S.C. § 1951(a) (Count Four); (5) brandishing firearms during crimes of
violence, the Fish robbery and robbery conspiracy, in violation of 18 U.S.C. § 924(c)(1)(A)(i)
(Count Five); (6) Hobbs Act robbery conspiracy (“the Trackside robbery”) in violation of 18
U.S.C. § 1951(a) (Count Six); (7) Hobbs Act robbery (“the Trackside robbery”) in violation
of 18 U.S.C. § 1951(a) (Count Seven);(8) brandishing a firearm during a crime of violence,
the Trackside robbery and robbery conspiracy, in violation of 18 U.S.C. § 924(c)(1)(A)(i)
(Count Eight); (9) murder conspiracy in violation of 18 U.S.C. § 1959(a)(5) (Count Nine); (10)
attempted murder of Maurice Gardner in violation of in violation of 18 U.S.C. § 1959(a)(5)
(Count Ten); (11) assault with a dangerous weapon of Gardner in violation of 18 U.S.C. §
1959(a)(3) (Count Eleven); (12) witness retaliation of Gardner in violation of 18 U.S.C. §
1513(a)(1)(B) (Count Twelve); (13) witness retaliation conspiracy of Gardner in violation of
18 U.S.C. § 1513(f) (Count Thirteen); (14) discharging a firearm during crimes of violence,
the shooting of Gardner, in violation of 18 U.S.C. § 924(c)(1)(A)(i) (Count Fourteen); (15)
attempted murder of rival gang member (Johnny Green) in violation of 18 U.S.C. § 1959(a)(5)
(Count Fifteen); (16) assault of a rival gang member (Green) in violation of 18 U.S.C. §
1959(a)(3) (Count Sixteen); (17) discharging a firearm during crimes of violence, the shooting
of Green, in violation of 924(c)(1)(A)(i) (Count Seventeen); (18) conspiracy to distribute
controlled substances in violation of 21 U.S.C. §§ 846, 841(b)(1)(A)(iii) (Count Eighteen);
(19) use of firearms during a drug trafficking crime in violation of 18 U.S.C. § 924(c)(1)(A)(i)
(Count Nineteen); (20) conspiracy to murder and assault of rival gang members with dangerous
weapons in violation of 18 U.S.C. §§ 1959(a)(5), 1959(a)(6) (Count Twenty); and illegal
possession of ammunition in violation of 18 U.S.C. §§ 922(g), 924(a)(2) (Count Twenty-One).
See United States v. Raphael Osborne, 14-CR-264 (S-5) (JS), Verdict Sheet, Court Exhibit 13,
ECF Doc. No. 266. This Court sentenced Osborne principally to consecutive life terms of
imprisonment on Counts One, Two and Eighteen; consecutive terms of 300 months on Counts
Five, Eight, Fourteen, and Seventeen; a consecutive term of 60 months on Count Nineteen;
concurrent terms of 240 months on Counts Three, Four, Six, Seven, Ten, Eleven, and Sixteen;
concurrent terms of 120 months on Counts Nine, Fifteen, Twenty and Twenty-One; and
concurrent terms of 360 months on Counts Twelve and Thirteen. As set forth in the written
judgment, the aggregate term of imprisonment was three consecutive life terms plus 135 years.
The Court also imposed a mandatory assessment of $2,100.

                Osborne subsequently appealed his conviction. On appeal, Osborne challenged:
(1) the sufficiency of the evidence underlying his conviction; (2) the district court’s denial of
his Batson challenge; (3) the applicability of the Pinkerton theory of liability; (4) the district
court’s denial of his pre-trial Franks motion; (5) the district court’s ruling precluding the
defendant from calling, inter alia, Detective John Mitchell as a witness at trial; (6) the
admission of certain testimony from a cooperating witness; (7) the admission of certain
photographs; and (8) that the sentence of the district court was substantively unreasonable.
The Second Circuit issued a summary order rejecting all of the defendant’s arguments and
affirming the judgment. See United States v. Osborne, 14-CR-264 (S-5) (JS), Second Circuit
Mandate, ECF Doc. No. 556.
               On December 5, 2019, Osborne, proceeding pro se, filed the instant petition
pursuant to 28 U.S.C. § 2255 seeking to vacate his conviction. In the petition, Osborne raises
seven claims which he alleges require vacatur of his conviction. Osborne’s seven claims fall
within three categories: (1) five of the claims relate to ineffective assistance of counsel, either
trial counsel or appellate counsel; (2) one claim alleges that there is “newly discovered
evidence” requiring vacatur of certain counts of conviction; and (3) the final claim alleges that
pursuant to United States v. Davis, 139 S. Ct. 2319 (2019), his convictions for Section 924(c)
violations must be dismissed because they relied on a no longer valid predicate crime of
violence. As set forth below, each of Osborne’s claims in the petition are without merit.

                                     FACTUAL BACKGROUND

I.     Overview

               Raphael Osborne’s April 17, 2013 arrest and later conviction arose out of his
participation in and direction of the Roosevelt, New York “set” of the Rollin’ 60s Crips, a
nationwide street gang with members on Long Island, New York (also referred to herein as the


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“Rollin’ 60s” or “the gang”). (T. 269, 271, 278, 908, 1014-15, 1378-80, 2005, 2095-96). 1
Osborne, whose gang name was “Gusto,” was the leader, and founder, of the Rollin’ 60s Crips.
(T. 271, 278, 908, 1014-15, 1378-80, 2005, 2095-96).

II.      The Trial

              At a five-week trial commencing March 8, 2016, the government provided a
multitude of evidence, including: (1) testimony of four former members of the Rollin’ 60s
Crips (Aaron Halyard, Reynaldo Hernandez, Essix Robinson, and Denzel Smith), some of
whom participated in the crimes at issue; (2) testimony of a close associate of the Rollin’ 60s
(Jeffrey Appiagyei), who participated in Osborne’s narcotics dealing operation; (3) the
testimony of Daron Morris, who participated in drug trafficking and robberies with Osborne
and to whom Osborne admitted that he attempted to kill a person (Maurice Gardner)
cooperating with local law enforcement; (4) the testimony of various federal and local law
enforcement officers; (5) audio recordings of cell phone conversations and copies of text
messages; (6) social media postings and photographs; (7) audio recordings of gunfire; and (8)
the testimony of several expert witnesses.

      A. The Enterprise: The Rollin’ 60s Crips

               The Rollin’ 60s Crips gang originated in Los Angeles, California and is
comprised of smaller sets located throughout the United States. (T. 269, 289-91, 1026-27).
Across the country, Rollin’ 60s Crips members identify themselves, to other members as well
as to rival gangs, by wearing the gang’s colors — primarily the color blue — and by use of
tattoos, hand signs and graffiti. (T. 293-354, 1040-49, 1393-1403, 2102-07).

              The Rollin’ 60s Crips set based in Roosevelt, New York was founded by
Osborne, along with Daquan Chambers (“Dulo”) and Johnny Green (“J-Loc”), in or about
2003. (T. 279, 293, 1028, 1071). Among other practices, Roosevelt Rollin’ 60s members
conducted formal meetings known as “C-13s” (T. 1049-52, 1411, 2100), pooled resources to
purchase firearms to be made available to the gang generally (T. 355-62, 691-92, 714, 1022-
23, 1061-63, 1412, 2101-02), and contributed money to support incarcerated members (T. 354-
55, 1052-55, 1389-90). To enrich themselves and to maintain respect for the gang, Roosevelt
Rollin’ 60s members also engaged in criminal activity (“put in work”), including murder,
robbery and narcotics trafficking. (T. 1052-55, 1061-63). Indeed, participation in these types
of crimes affected the degree of respect afforded members 2 (T. 899, 1016-22, 1068, 1387,
2013, 2095), who were assigned different ranks, ranging from “Big Whale,” Osborne’s

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               The factual background set forth in this section is based on the trial transcript of
United States v. Osborne, 14-CR-264 (S-5) (JS), held March 8, 2016 through April 11, 2016.
Parenthetical references to “T.” are to specific pages of the trial transcript.
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             Involvement in these activities also could lead to the induction of new gang
members. (T. 282-83, 1017-18, 1383-84, 2013-14).



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position, to “Big Hoodstas” or “Big Hoods,” followed by “Hoodstas,” “Baby Hoods” and
“Tiny Hoods” (T. 279, 1025, 1228-50, 1386-89, 2096). The more “work” put in on behalf of
the gang, the higher the rank. (T. 280-81, 502-03, 899-900, 1028, 1068, 1387, 1431-34, 2102).

                  Although gang members, including Osborne, maintained contact with the
nationwide leadership of the Rollin’ 60s Crips, Osborne had final say in the local operations
of the gang. (T. 291, 1026-27). Under Osborne, members were obligated to: (1) refuse
cooperation with law enforcement officials; (2) attack, injure and kill rival gang members on
sight and by whatever means available (the “on sight rule”); 3 (3) maintain respect for the gang
and its territory; and (4) remain loyal to the gang above all else. (T. 286-88, 481-505 878-82,
1017-18, 1029-33, 1070-71, 1407-11, 1413, 2098-99). Gang members who violated the rules,
or failed to follow Osborne’s instructions, were disciplined. The form of the discipline would
vary depending on the nature of the infraction. Minor infractions of gang rules could result in
a beating or expulsion from the gang. 4 More serious infractions, such as cooperating with law
enforcement against the gang, were punishable by death. (T. 288, 1024, 1409, 2100).

   B. The Conspiracy to Murder Rival Gang Members (Count Twenty)

                As noted above, persons joining the Rollin’ 60s were made aware of the “on
sight rule” that existed within the gang. (T. 487, 501, 2098). This rule required gang members
to shoot, kill, stab or fight any members of the rival Bloods gang whenever and wherever
encountered. (T. 483, 490-91, 878-82, 1029-33, 1413, 1465, 2098-99). The “on sight rule”
remained in effect the entire time Osborne was the leader of the Roosevelt Rollin’ 60s, from
2003 until his arrest in April of 2013. (T. 881).

                 The results of this Osborne-imposed rule were staggering. For example, on
October 21, 2006, Rollin’ 60s member Devon Cabrera, also known as “Sty,” chased Bloods
member Kail Ferro, also known as “Beast,” down Park Avenue in Roosevelt, and shot Ferro
in the back, killing him, for no reason other than the lack of respect demonstrated by that
Bloods member’s decision to walk in enemy territory. (T. 495-97, 1068-71). Similarly, on
June 22, 2008, fifteen-year-old Rollin’ 60s member Cody Hernandez, also known as “Monsta
C,” shot and killed Bloods member Lord Carter based on nothing other than Carter’s gang
affiliation. 5 (T. 488-89, 1074-75).




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             This rule was established by Osborne, Chambers and Green. (T. 483, 490-91,
878-82, 1029-33, 1413, 1465, 2098-99).
       4
               When Rollin’ 60s members “Rock” and “Melman” failed to attend a meeting
called by Osborne in December of 2010, both individuals were disciplined by the gang.
Specifically, Rock was robbed, and Melman was expelled from the gang. (T. 531-32, 1035-
37).
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               There were many other examples of Osborne and his fellow gang members
committing acts of violence against rival gang members s that were proven at trial, but the

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   C. The Fish Robbery (Counts Three and Four)

                Also in the Fall of 2010, Osborne and Halyard, with the aid of several other
Rollin’ 60s members, committed a robbery of a marijuana dealer known as “Fish.” (T. 455-
56). In this case, it was Halyard who provided Osborne with information from two lower
level gang members, Kwame Lake and Terrell Dash, about a marijuana supplier named “Fish”
who might be a good robbery target. (T. 455-57, 837). In anticipation of the robbery, Osborne
and Halyard began making small purchases of marijuana from Fish to establish a trust
relationship. 6 Eventually, however, they ordered a much larger quantity (several pounds) of
marijuana that they intended to rob. On the day of the robbery, Reynaldo Hernandez drove
Osborne and Halyard to meet “Fish.” Upon arrival, Halyard entered “Fish’s” vehicle, and took
possession of the drugs, at which point Halyard displayed a firearm. Osborne then pulled
“Fish” out of his car and hit Fish with the butt of a gun. (T. 459-60, 838-841, 1012-13, 1154).
The proceeds of the robbery were later distributed among the participants, including Lake and
Dash. (T. 461-463, 842, 1013). Osborne and Halyard sold the marijuana that was stolen
during the robbery. (T. 455-463, 1154-1155).

   D. The Trackside Robbery (Counts Six and Seven)

               In the Fall of 2010, Osborne approached longtime, high ranking Rollin’ 60s
member Aaron Halyard, who, like Osborne, had recently returned from prison and was in need
of money, with a plan to rob a drug dealer. (T. 449-50). Shortly thereafter, Osborne and
Halyard, along with fellow Rollin’ 60s members Eric Smith and Bryan Henry, and the drug
dealer’s cousin (who had provided Osborne with the target) drove to the “Trackside”
neighborhood of Hempstead in Henry’s car, with firearms. (T. 449). There, Halyard and
Smith, armed with the firearms, proceeded to the target’s apartment, where they robbed the
drug dealer of 15 to 20 grams of crack cocaine, five grams of cocaine and $1,000. (T. 450-
52). These proceeds later were divided among all participants, with Osborne obtaining a
portion of the drugs to sell. (T. 447-454, 798).

   E. The Plot and Attempt to Murder Informant Maurice Gardner (Counts Nine to
      Fourteen)

               In the Spring of 2012, members of the Federal Bureau of Investigation’s
(“FBI”) Long Island Gang Task Force and the Nassau County Police Department (“NCPD”)
began conducting an investigation into the activities of the Rollin’ 60s. (T. 171). During
the course of that investigation, a member of the Rollin’ 60s, Maurice Gardner, began
operating as a confidential informant for the FBI. (T. 171-72). In that capacity, Gardner
purchased five firearms from members of the Rollin’ 60s, including from Halyard and Derick

government has limited the instant response to those crimes which are relevant to the issues
raised in the petition.
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             The marijuana that was being purchased to build trust with “Fish” was then
resold by Osborne and Halyard, both of whom were in need of money.



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Hernandez. At trial, the government called Special Agent (“SA”) David Biddiscombe who
offered evidence of those controlled purchases. (T. 171-172). The first controlled purchase
that SA Biddiscombe discussed at trial was a May 2, 2012 purchase of a 7.65 caliber firearm
from Rollin’ 60s member Derick Hernandez. (T.171-181). The next controlled purchase
that SA Biddiscombe discussed at trial was a May 15, 2012 purchase of a .357 caliber
firearm from Rollin’ 60s member Aaron Halyard. (T. 181-187). This purchase occurred at
Osborne’s residence at 107 Debevoise Street, Roosevelt, New York. (T. 184). The third
controlled purchase that SA Biddiscombe discussed at trial was a May 23, 2012 purchase of
three firearms from Halyard. (T. 187-191). This deal occurred on the street in front of
Osborne’s residence. (T. 189).

                Thereafter, SA Biddiscombe discussed an attempt to conduct a controlled
purchase of a .40 caliber firearm from Osborne himself on June 7, 2012. (T. 191-194). In
that instance, following a discussion between Osborne and Gardner regarding Osborne
selling Gardner a firearm, Gardner did not purchase the firearm. (T. 193). As cooperating
witnesses Halyard and Hernandez explained, Osborne did not consummate that transaction
with Gardner because Osborne had become suspicious of Gardner and the circumstances
under which the attempted purchase occurred. (T. 583-585, 1285-1288).

              While the law enforcement investigation was ongoing, Osborne learned of
information indicating that Gardner was working as a federal informant. (T. 590, 1287,
1847, 2038). As a result, Osborne and Hernandez decided to kill Gardner. (T. 590-91, 1842-
43). To commit the murder, Derick Hernandez recruited Denzel Smith, a 17 year-old who
was interested in joining the gang. (T. 2008, 2012-13, 2038-51). At a meeting attended by
Osborne, Hernandez, Kurtis Philip and Smith prior to the planned murder, Osborne told
Smith that “when you hit him, you got to leave him . . . he got to get left.” (T. 2048). Smith
understood this to mean that when he shot Gardner, Smith was to make sure he was dead. (T.
2039-2051, 2200).

               On October 13, 2012, Smith met Hernandez and Philip at Hernandez’s home
in Roosevelt, where they developed a plan to lure Gardner out to kill him. (T. 2052-56).
Hernandez, Philip and Smith, who was carrying a 9 mm pistol that had been provided by
Hernandez, 7 proceeded to the Heights section of Hempstead, New York where Gardner
lived. (T. 2053, 2057-58). There, Hernandez met Gardner while Philip accompanied Smith
to the location where Smith would lie in wait. (T. 2060-61). As Hernandez and Gardner
approached Smith, Hernandez began to cross the street and Gardner began to run. Smith



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              A ballistics expert compared the shell casings recovered from the Gardner
attempted murder, the August 30, 2012 Crips shooting of Bloods member Cornell Brown,
and the March 21, 2012 Crips shooting, in which Crips member Jahmani Hamilton shot at
Bloods member Christopher Anderson, and concluded that the same firearm was used in all
three shootings. (T. 1437-39, 2016-22, 2184, 2530).



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shot Gardner several times as Gardner attempted to escape. Gardner fell to the ground, while
Smith and Hernandez fled the scene in opposite directions. 8 (T. 2052-2073).

               In the wake of the shooting, civilian eye witnesses called 911 and members of
law enforcement responded to the scene. (T. 1964-77). Gardner remained conscious for a
short time before being transported by ambulance to a local hospital. (T. 2236-37). There,
Gardner received emergency lifesaving treatments from medical professionals to address the
five gunshot wounds he had sustained. (T. 1183-88). Although Gardner ultimately survived,
he was left permanently paralyzed from his waist down. (T. 1189-99). After he awoke from
a long coma, Gardner told state law enforcement officials that he saw who had shot him and
identified Osborne as the shooter. (T. 2430-2442). Throughout the prosecution and trial of
this case, Gardner has maintained this mistaken belief.

   F. The Attempted Murder of Green (Counts Fifteen to Seventeen)

               On the night of January 30, 2013, Osborne and fellow gang members Rommel
Lobban (“Rah”) and Merlyn Benitez (“Frankie C”) conspired to and then attempted to kill
Bloods member Johnny Green. Driving in Lobban’s silver four-door Chevy Impala, Osborne
fired several shots at a vehicle in which Green was riding with others. Bullets ripped through
the vehicle, including a bullet that passed through the driver’s headrest and the back seat.
(T 921-32, 959-74). Green was struck once in the stomach, with the bullet lodging in his
exterior fat. (T 2302-03). At the scene of the shooting, law enforcement officers recovered
eight 40-caliber shell casings and two 45-caliber shell casings. (T. 935-44).

              Subsequently, Osborne told Halyard that he “and Frank just shot up a guy
named Fat Johnny.” (T. 601). In response to Halyard’s question about what Green “got hit
with,” Osborne replied, “the forty and the four pound,” meaning a 40-caliber and a 45-caliber
firearm. (T 600-06, 861-64).

               In a later conversation at which Halyard was present, Osborne defended gang
member and best friend Lobban 9 from gang chiding due to Lobban’s decision to run from
police attempting to stop him in his car about a month after the Gardner shooting. 10 During
the course of the conversation, Osborne explained that Lobban knew that law enforcement

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                Derick Hernandez was stopped by the Hempstead Police Department in the
vicinity of the shooting and arrested for marijuana possession. (T. 2242-45).
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              Halyard, Reynaldo Hernandez and Robinson testified that Lobban was
Osborne’s best friend within the gang and often served as Osborne’s driver. (T. 604-05, 1148,
1448).
       10
              Police records confirmed that on March 2, 2013, NCPD detectives, George
Colby and John Mitchell, attempted to stop Lobban while he was driving a gray Chevy Impala.
Lobban led them on a pursuit, which ended in Lobban’s apprehension and arrest for marijuana
possession. (T. 2414-21).



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officials were interested in examining the silver Impala owned by the mother of Lobban’s
child in connection with the shooting of Fat Johnny. 11 (T. 605-06, 674-75, 863-84).

   G. Corroborating Evidence

                The testimony of the cooperating witnesses was corroborated by, among other
things, the testimony of various federal and local law enforcement officers (see, e.g., T. 60-
95 (drugs dropped by Osborne), 170-94 (audio and video recording of gun transactions),
933-1007 (recovery of handgun from Osborne), 1202-10 (surveillance video), 1570-74
(search-Crips graffiti), 1767-81 (search-recovered ammunition), 1697-71, 1726-33, 1740-49,
1749-67, 1981-95, 2307-42 (crime scene evidence), 1721-25, (photographs), 1783-89 (motor
vehicle records), 1791-1811 (Osborne’s arrest), 2239-46 (Derick Hernandez stop); audio
recordings of cell phone conversations and copies of text messages intercepted via the
wiretap of Osborne’s cell phone during the early months of 2013 (see, e.g., T. 138-69, 2273-
94 (and government exhibits)); social media postings and photographs demonstrating the
existence of the Rollin’ 60s Crips enterprise, the gang’s structure, and Osborne’s position
within the gang (see, e.g., T. 264-65 (stipulation and government exhibits)); ShotSpotter
audio recordings of gunfire from several shooting incidents (see, e.g., T. 975-93 (and
government exhibits)); and the testimony of several expert witnesses, including a ballistics
expert and medical doctors (see, e.g., T. 29-59 (drug expert); T. 97-138 (chemist); T. 1181-
1202, 2299-2307 (medical); T. 2481 (ballistics)).

   H. Defense Case

               Defense counsel advised the Court that Osborne was interested in calling one
of the individuals — Derick Hernandez — involved in the attempted murder of Gardner (T.
2553-54) and the two NCPD detectives — George Colby and John Mitchell — who were
most involved in that investigation in his defense. The reasons proffered by Osborne for
calling Det. Mitchell were, in essence, attempts to relitigate information contained in a
wiretap affidavit that the Court had already ruled on in pre-trial motions. The Court denied
Osborne’s attempt to call Det. Mitchell, citing the fact that the wiretap affidavit had already
been decided and was not an issue for the jury to decide. Furthermore, Det. Mitchell’s
partner, NCPD Det. George Colby (“Det. Colby”), who had worked the case with Det.
Mitchell, had already been called on the government’s case and the defense had an
opportunity to cross-examine Det. Colby about the very same topics the defense now sought
to raise with Det. Mitchell. 12 The Court denied Osborne’s application. (T. 2554-2569).


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                 New York State Department of Motor Vehicles (“DMV”) records confirmed
that on January 30, 2013, the woman that Halyard identified as the mother of Lobban’s child
was the registered owner of a gray Chevy Impala. (T. 1783-89). Reynaldo Hernandez also
testified at trial that Lobban was driving a silver Chevy Impala in January of 2013. (T. 1148).
       12
              Indeed, the entire cross-examination of Det. Colby dealt with topics related to
the Gardner attempted murder. The government objected to these lines of cross-examination
as beyond the scope of the government’s direct of Det. Colby. However, the Court overruled

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Ultimately, Osborne elected not to call Hernandez or any other witnesses. Nor did he testify.
(T. 2653-54).

       I. Verdict

                On April 11, 2016, the jury convicted Osborne of all counts of the indictment.
(T. 3021-34).

III.      Sentencing and Appeals

              On January 17, 2017, the Court entered its judgment sentencing Osborne to
three consecutive life terms to be followed by a mandatory 135 years’ to be run consecutively.

                On August 30, 2018, the Second Circuit affirmed the Court’s judgment.

              On December 5, 2019, the Court received the instant petition, but the
handwritten date on the petition is November 23, 2019 and the post-mark on the envelope
containing the petition is listed as November 26, 2019.

                          TIMELINESS OF OSBORNE’S PETITION

               Osborne filed the instant petition within the limitations period. Section 2255’s
limitations provisions establish a one-year period in which federal prisoners may seek habeas
relief. 28 U.S.C § 2255(f); Mickens v. United States, 148 F.3d 145, 148 (2d Cir. 1998). The
one-year period begins to run from the latest of:

                (1) the date on which the judgment of conviction becomes final;

                (2) the date on which the impediment to making a motion created
                by governmental action in violation of the Constitution or laws of
                the United States is removed, if the movant was prevented from
                making a motion by such governmental action;

                (3) the date on which the right asserted was initially recognized
                by the Supreme Court, if that right has been newly recognized by
                the Supreme Court and made retroactively applicable to cases on
                collateral review; or




the government’s objections and allowed the defense wide latitude to explore the topics
related to the Gardner attempted murder. (T. 2430-2443).


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               (4) the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise of due
               diligence.

28 U.S.C. § 2255(f)(1)-(4).

                In Clay v. United States, the Supreme Court held that a conviction becomes final
when the Supreme Court “affirms a conviction on the merits on direct review or denies a
petition for a writ of certiorari, or when the time for filing a certiorari petition expires.” 537
U.S. 522, 527 (2003). “[A] petition for a writ of certiorari must be filed within 90 days of the
entry of the judgment sought to be reviewed.” Bowles v. Russell, 127 S.Ct. 2360, 2365 (2007);
Supreme Court Rule 13.1.

              Here, Osborne filed the instant motion within one year after the judgment
became final. As discussed above, the Second Circuit affirmed Osborne’s judgment on August
30, 2018. Since Osborne never filed a petition for a writ for certiorari, the judgment became
final on November 30, 2018 -- 90 days after the entry of judgment sought to be reviewed.
Because the defendant mailed the petition before November 30, 2019—on either November
23, 2019 or November 26, 2019—which was within a year after the judgment became final,
the motion was timely filed.

                                         ARGUMENT

               In his petition, Osborne argues that his conviction must be vacated based on:
(1) ineffective assistance of counsel; (2) newly discovered evidence; and (3) the Supreme
Court’s recent decision in United States v. Davis, 139 S. Ct. 2319 (2019). The government
will address each argument in turn.

I.    Osborne’s Claims of Ineffective Assistance of Counsel Should Be Denied as They are
Without Merit

               Osborne alleges ineffective assistance on the following grounds: (a) trial
counsel and appellate counsel were ineffective for failing to allege a Brady violation related to
phone records of government witness Denzel Smith (Grounds 2 and 3); (b) trial counsel was
ineffective for failing to cross examine Detective Colby about when law enforcement first
learned that Osborne did not shoot Maurice Gardner (Ground 5); (c) trial counsel was
ineffective for failing to cross examine Special Agent Biddiscombe about the identity of an
informant relating to a 2011/2012 firearm transaction (Ground 6); and (d) trial counsel was
ineffective for failing to call Detective Mitchell as a defense witness (Ground 7). Each one of
these claims are baseless and should be rejected.

   A. Legal Standard

                A petitioner advancing an ineffective assistance of counsel claim bears a
substantial burden. Ineffective assistance of counsel “may appropriately be raised for the
first time in a 2255 motion, ‘whether or not the petitioner could have raised the claim on


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direct appeal.’” Harrington v. United States, 689 F.3d 124, 129 (2d Cir. 2012) (quoting
Massaro v. United States, 538 U.S. 500, 504, 509 (2003)). A petitioner claiming ineffective
assistance of counsel “must show that (1) counsel’s performance was objectively deficient,
and (2) petitioner was actually prejudiced as a result.” Id. (citing Strickland v. Washington,
466 U.S. 668, 687-88, 692-93 (1984)).

                The burden of showing ineffective assistance is “a heavy one because, at the
first step of analysis, [a court] must indulge a strong presumption that counsel’s conduct falls
within the wide range of reasonable professional assistance.” Harrington, 689 F.3d at 129
(internal quotations and citation omitted). “The determinative question at this step is not
whether counsel ‘deviated from best practices or most common custom,’ but whether his
‘representation amounted to incompetence under prevailing professional norms.’” Id. at 129-
30 (quoting Harrington v. Richter, 562 U.S. 86, 105 (2011)). The standard for evaluating the
adequacy of counsel’s representation is “a most deferential one,” Harrington, 562 U.S. at
105, because “counsel is strongly presumed to have rendered adequate assistance and made
all significant decisions in the exercise of reasonable professional judgment,” United States
v. Thomas, 608 Fed.Appx. 36, 38 (2d Cir. 2015) (Summary Order) (quoting Strickland, 466
U.S. at 690). “A lawyer’s decision not to pursue a defense does not constitute deficient
performance, if, as is typically the case, the lawyer has a reasonable justification for the
decision.” Deluca v. Lord, 77 F.3d 578, 588 n. 3 (2d Cir. 1996). “‘[S]trategic choices made
after less than complete investigation are reasonable precisely to the extent that reasonable
professional judgments support the limitations on investigation.’” Id. (quoting Strickland,
466 U.S. at 690-91).

              To show the requisite prejudice at the second step, a petitioner must show “a
reasonable probability that his reliance on counsel’s ineffective assistance affected the
outcome of the proceedings.” Pham v. United States, 317 F.3d 178, 182 (2d Cir. 2003). “A
reasonable probability is a probability sufficient to undermine confidence in the outcome.”
Strickland, 466 U.S. at 694. “An error by counsel, even if professionally unreasonable, does
not warrant setting aside the judgment of a criminal proceeding if the error had no effect on
the judgment.” Lindstadt v. Kean, 239 F.3d 191, 204 (2d. Cir. 2001) (quoting Strickland,
466 U.S. at 691). “Unlike the determination of trial counsel’s performance under the first
prong of Strickland, the determination of prejudice ‘may be made with the benefit of
hindsight.’” Hemstreet v. Greiner, 491 F.3d 84, 91 (2d Cir 2007) (quoting Mayo v.
Henderson, 13 F.3d 528, 534 (2d Cir. 1994)).

               When a petitioner makes conclusory allegations, unsupported by specific facts,
or contentions which are not credible in light of the record available to the court, the
allegations are subject to summary dismissal. Blackledge at 74; (citing Machibroda v.
United States, 368 U.S. 487, 495-96 (1962)).




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   B. Discussion

       1. Trial Counsel and Appellate Counsel Were Not Ineffective For Failing to Allege a
          Brady Violation Relating to the Government’s Failure to Produce Smith’s Phone
          Records That the Government Did Not Even Possess

                Osborne contends that a Brady violation occurred when the government
“failed to turn over government witness Denzel Smith (sic) phone records, text messages and
cell tower information from the day of October 13, 2012 shooting of Maurice Gardner.”
Raphael Osborne’s Memorandum of Law in Support, ECF Doc. No. 629 at 2. That
contention is wholly without merit.

                In Brady v. Maryland, the Supreme Court held “that the suppression by the
prosecution of evidence favorable to an accused upon request violates due process where the
evidence is material either to guilt or to punishment, irrespective of the good faith or bad
faith of the prosecution.” 373 U.S. 83, 87 (1963). The duty to disclose such evidence is
applicable even though there has been no request by the accused and that the duty
encompasses impeachment evidence as well as exculpatory evidence. See Strickler v.
Greene 527 U.S. 263, 280 (1999) (internal citations omitted). Such evidence is material “if
there is a reasonable probability that, had the evidence been disclosed to the defense, the
result of the proceeding would have been different.” United States v. Bagley, 473 U.S. 667,
682 (1985); see also Kyles v. Whitley, 514 U.S. 419, 433–434 (1995). Moreover, the rule
encompasses evidence “known only to police investigators and not to the prosecutor.” Id., at
438. In order to comply with Brady, therefore, “the individual prosecutor has a duty to learn
of any favorable evidence known to the others acting on the government's behalf in this case,
including the police.” Id. at 437. To summarize, “[t]here are three components of a true
Brady violation: The evidence at issue must be favorable to the accused, either because it is
exculpatory, or because it is impeaching; that evidence must have been suppressed by the
State, either willfully or inadvertently; and prejudice must have ensued.” Strickler v.
Greene, 527 U.S. at 281-282.

                Here, Osborne does not, and cannot, establish any of the essential elements of
a Brady violation. The reason for this is simple. The government is not, and never was, in
possession of any phone records for Denzel Smith for the time surrounding the shooting of
Gardner. Indeed, Smith was never able to provide law enforcement with his cell phone
number from the time of the Gardner shooting. 13 That is not surprising because Smith
testified that Derick Hernandez instructed him to get rid of his phone number in the days

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                Smith first met with local law enforcement on September 12, 2013,
approximately eleven months after shooting Gardner. At that time, Smith indicated he did
not recall his phone number and was not forthcoming about his role in the shooting of
Gardner. It was not until June 8, 2015, when Smith first met with federal law enforcement,
that he admitted his role in the shooting of Gardner. At no point was Smith able to provide
law enforcement with his phone number from the time of the Gardner shooting.


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after the shooting, and Smith complied with this directive. (T. 2072). Because the
government did not possess Smith’s records, and therefore could not have suppressed said
records, Osborne fails to establish a Brady violation.

               Furthermore and significantly, in the absence of the records, this Court is left
with nothing but Osborne’s self-serving assertions of what he believes Smith’s records would
have demonstrated. Such rank speculation plainly cannot form the basis of a valid Brady
claim. Because Osborne cannot establish that a Brady violation had, in fact occurred, this
Court cannot find that both trial counsel and appellate counsel’s failure to raise such a
meritless claim was objectively deficient or that Osborne was actually prejudiced as a result.

       2. Trial Counsel Actually Cross Examined Detective Colby About When He Learned
          That Osborne Did Not Shoot Gardner

               In Ground Five of his petition, Osborne alleges trial counsel was ineffective for
failing to cross examine Det. Colby about when it was that Det. Colby and his partner first
learned that Osborne was not the individual who shot Gardner. This claim, on its face, is
frivolous. Trial counsel did, in fact, cross-examine Det. Colby about that very issue. (T. 2430-
2442). Specifically, trial counsel asked “[w]hen did you learn that it was not Raphael Osborne,
did you ever form a conclusion in that regard?” (T. 2441). Det. Colby answered, “After April
17th, some time when we had some people – Aaron Halyard had said that Mr. Raphael Osborne
was involved but he wasn’t the shooter. And that was the first time.” (T. 2441). Trial counsel
went on to ask “[a]nd this contact with Mr. Halyard was after April 17th?” (T. 2442). Det.
Colby responded “[y]es, I believe it was in June of 2013.” (T. 2442).

               In fact, it was the only topic about which trial counsel asked Det. Colby.
Therefore, because trial counsel did the very thing Osborne now claims counsel failed to do,
his ineffective assistance claim fails.

             Furthermore, because counsel took the actions Osborne says he should have,
Osborne could not possibly be prejudiced by trial counsel’s actions.

       3. Trial Counsel Was Not Ineffective for His Cross Examination of SA Biddiscombe

               In Ground Six of his petition, Osborne alleges that trial counsel was ineffective
for not cross-examining SA Biddiscombe about certain documents related to a 2011 and 2012
controlled purchase of firearms. Specifically, Osborne claims these documents prove that SA
Biddiscombe testified falsely when SA Biddiscombe testified that he did not know the identity
of Abdul Robinson, a confidential informant used in a firearm transaction. However, contrary
to Osborne’s claims, trial counsel did attempt to cross-examine Biddiscombe about the
firearms transaction involving Robinson. (T. 206). Also contrary to Osborne’s claims, SA
Biddiscombe never denied knowing Robinson; instead, SA Biddiscombe indicated that his
memory of the transaction was not completely clear, prefacing his answer by stating “[i]f it is
the one I’m thinking of, I would only be guessing here…” SA Biddiscombe went on to
describe a transaction in which one informant, Alton Young, participated in the transaction
with “another person.” At no point did SA Biddiscombe deny knowing Abdul Robinson. (T.

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206-207). Again, because trial counsel attempted to do the very thing Osborne claims he
should have done, it is clear that counsel’s actions in cross-examining SA Biddiscombe were
not objectively unreasonable.

               Furthermore, even if counsel’s actions were not objectively reasonable, Osborne
cannot demonstrate that he was prejudiced. Indeed, the minor inconsistency of which
informant participated in a deal in which Osborne was not alleged to have been involved (T.
207) would not have altered the outcome in light of the overwhelming evidence against
Osborne. Strickland, 466 U.S. at 694 (a defendant must show that there is a reasonable
probability that, but for counsel’s unprofessional errors, the result of the proceeding would
have been different).

       4. Trial Counsel Was Not Ineffective for Not Calling Det. Mitchell as a Witness

              Finally, in Ground Seven of his petition, Osborne contends that trial counsel
was ineffective for failing to call Det. Mitchell as a defense witness at trial. Osborne submits
that Det. Mitchell should have been called, in essence, to re-litigate the accuracy of statements
made by Det. Mitchell in a wiretap affidavit submitted in connection with the original Nassau
County prosecution of Osborne. As the Court is well aware, these issues were litigated and
decided by the Court in Osborne’s original motion to suppress the wiretap (United States v.
Osborne, 14-CR-264 (S-5) (JS), ECF Doc. Nos. 176, 177, 183, 192 and 193), as well as in
connection with Osborne’s direct appeal (United States v. Osborne, 14-CR-264 (S-5) (JS),
Second Circuit Mandate, ECF Doc. No. 556, at 5-6).

                Following the close of the government’s case at trial, trial counsel attempted to
call Det. Mitchell and Det. Colby. Trial counsel informed the Court that Osborne wanted them
called so that trial counsel could question them about “[t]he investigation as it related to the
phone call analysis, cell phone tower records and …knowledge and participation in the charge
of Mr. Osborne with illegal gun sales in the first state indictment. That’s what I’m told the
line of inquiry should be.” (T. 2557). Trial counsel explained that the defendant was seeking
to make the same inquiry of both detectives. (T. 2560). Even the defendant himself addressed
the Court and raised that he wanted to cross-examine Det. Mitchell about statements that were
contained in a state wiretap application. (T. 2561). The government opposed this application
on relevance grounds, pointing out that none of Osborne’s phone records or cell tower records,
or any analysis of those records were offered at trial. (T. 2557). The government further
argued that the parties had already litigated, and the Court had already found admissible, the
wiretap that resulted from Det. Mitchell’s affidavit and that Osborne had already raised the
issue of the cell phone records, cell tower records and certain statements of Det. Mitchell in a
pre-trial challenge to the wiretap that the Court rejected. (T. 2557-2558). The government
reiterated that because none of the cell phone records, cell tower records, or statements by Det.
Mitchell had been placed before the jury at trial, the basis to call Det. Mitchell proffered by
the defendant were all irrelevant. (T.2558). The Court ultimately did not permit Osborne to
call Det. Mitchell or to recall Det. Colby. (T. 2569). At no point, when personally addressing
the Court regarding his desire to call Det. Mitchell, or Det. Colby, did Osborne ever raise that



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he wanted to inquire about Gary Mosley, an individual who at the time of trial was cooperating
witness, actually ordering the Gardner’s murder.

              On direct appeal, Osborne claimed that the Court’s decision to admit the wiretap
based upon Det. Mitchell’s affidavit was error and that the Court’s decision to preclude the
defense from calling Det. Mitchell at trial was also error. 14 The Second Circuit rejected all of
these claims by Osborne and affirmed the judgment of this Court. See United States v.
Osborne, 14-CR-264 (S-5) (JS), Second Circuit Mandate, ECF Doc. No. 556, at 5-6, 8.

               Osborne’s instant claim is merely an attempt to raise these arguments again, in
the guise of an ineffective assistance of counsel claim. First, because these claims were raised
on direct appeal, generally, they are foreclosed barring an intervening change in the law. See
United States v. Becker, 502 F.3d 122, 127 (2d Cir. 2007) (internal citations omitted). Even
if this Court were to consider the substance of this claim, it must be rejected as counsel did
endeavor to call Det. Mitchell as a witness. (T 2554-2569). The Court properly denied this
request, and the Second Circuit affirmed this Court’s denial. Therefore, trial counsel could not
have been ineffective as counsel attempted to take the exact action that Osborne claims counsel
failed to take. The fact that the Court sustained the government’s objection to counsel action
does not render counsel’s performance objectively deficient. And again, because counsel took
the actions Osborne says he should have, Osborne could not possibly be prejudiced by trial
counsel’s actions.

       5. Trial Counsel Did Not Advise Osborne that He Would be Acquitted of the
          Gardner Shooting

                Osborne alleges that trial counsel “promised Osborne that he cannot be
convicted of ordering hit on C.I. Gardner because gov. (sic) witness Gary Mosley was charged
with ordering hits on C.I. and he promised that Gary Mosley phone calls ordering hits on 2
C.I.s will be played for jurors at Osbornes (sic) trial.” See United States v. Osborne, 14-CR-
264 (S-5) (JS), Second Circuit Mandate, ECF Doc. No. 629, at 15. He is wrong. Trial counsel,
a skilled and experienced federal criminal defense attorney, submitted an affidavit refuting that
bald assertion. (Affidavit of John Carman, Esq., dated July 17, 2020, a copy of which is
attached hereto as Exhibit 1). Indeed, Mr. Carman averred that “at no time did I promise
Osborne that he would not be convicted of ordering a hit on Maurice Gardner, nor any other
crime charged against him. During my representation of Osborne, I regularly counseled him
on the risks of proceeding to trial and the possibility that he could be convicted of any or all of
the crimes charged in the indictment against him.” Id.

              Contrary to Osborne’s self-serving contention, Mr. Carman never advised him
that he would be acquitted of the Gardner shooting. The Court should credit Mr. Carman’s
affirmation over Osborne’s self-serving statements because the former’s “description of events

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               For the first time, on direct appeal, Osborne claimed that he should have been
allowed to call Det. Mitchell to inquire about Gary Mosley.


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[is] eminently credible.” See Chang v. United States, 250 F.3d 79, 86 (2d Cir. 2001) (affirming
the district court’s denial of defendant’s habeas petition without an evidentiary hearing, but
after a review of the submitted papers, including a detailed affidavit from trial counsel).
Moreover, the Court has discretion to “avoid[] the delay, the needless expenditure of judicial
resources, the burden on trial counsel and the government, and perhaps the encouragement of
other prisoners to make similar baseless claims that would . . . result[] from a full testimonial
hearing,” and deny Osborne’s claim in its entirety. See id. Even if the allegations are true,
which they are not, Osborne cannot demonstrate prejudice by this purported error.

II.    Osborne’s Claim of Newly Discovered Evidence Is Meritless

                In Ground One of his petition, Osborne claims newly discovered evidence, i.e.,
the Affidavit of Kurtis Phillip (ECF Doc. No. 629, at 19-20) supports his claim that the
government knowingly used false testimony of Denzel Smith to convict the defendant of his
role in the attempted murder of Gardner. 15 For the reasons set forth below, this claim is without
merit.

                It is well settled that “it is the knowing use by the Government of false evidence
that constitutes the denial of due process.” Silverman v. United States, 556 F.2d 655, 658 (2d
Cir. 1977) (quoting Hoffa v. United States, 339 F.Supp. 388, 398 (E.D.Tenn. 1972), aff’d 471
F.2d 391 (6th Cir. 1973), cert. den., 414 U.S. 880 (1973)). Motions for a new trial based upon
the identification of perjured testimony should be granted only with great caution and in the
most extraordinary circumstances. See United States v. DiPaolo, 835 F.2d 46, 49 (2d Cir.
1987). The defendant must prove that: (1) the witness actually committed perjury; (2) the
alleged perjury was material; (3) the government knew or should have known of the perjury at
the time of the trial; and (4) the perjured testimony remained undisclosed during the trial.
United States v. Josephberg, 562 F.3d 478, 494 (2d Cir. 2009). The Second Circuit has held
that the “threshold inquiry is whether the evidence demonstrates that the witness in fact
committed perjury.” United States v. White, 972 F.2d 16, 20 (2d Cir. 1992) (emphasis
supplied). See also United States v. Moore, 54 F.3d 92, 99 (2d Cir. 1995). Here, as set forth
below, Osborne’s claims cannot survive this essential threshold inquiry. Nothing put forth by
Osborne demonstrates that government witness Denzel Smith committed perjury.

               In his affidavit, Phillip attempts to discredit government witness Denzel Smith
by making several claims, none of which prove that Smith testified falsely nor that the
government was aware of any false testimony. The government will address each of the factual
claims in Phillip’s affidavit in turn.



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               To the extent that Osborne also argues that the phone records and cell site
records of Denzel Smith also exonerate him, as set forth above, the government has never
been in possession of any such records, nor does Osborne claim to be in possession of such
records. Therefore, Osborne’s claims regarding what such records would show are
aspirational and without any factual support.


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               First, Phillip claims that the government ignored “cell phone tower records”
which, according to Phillip would show that Osborne, Hernandez, Phillip and Smith never met
together to discuss the plan to murder Gardner. See Affidavit of Kurtis Phillip, ECF Doc. No.
629, at 19. As set forth above, the government has never possessed any phone number or
phone record for Denzel Smith. Furthermore, during trial, Smith was not able to provide the
specific date when the meeting happened.

               Second, Phillip’s declares that “All of the parhes (sic) mentioned above were
subject of government wire taps for the entire period in question. Those wire taps clearly
demonstrate that Phillip Rarely (sic), if at all with Osbourne (sic).” Id. This assertion is simply
incorrect. Law enforcement never had a wiretap on Phillip’s phone or Smith’s phone.
Additionally, while law enforcement did obtain permission to wiretap Hernandez and
Osborne’s phones, those wiretaps did not commence until the early spring of 2013, several
months after the attempted murder of Gardner and any meetings which preceded the attempted
murder.

                Third, Phillip alleges that there is a recording of Maurice Gardner stating, as
relevant here, that “Phillip didn’t shoot him, and didn’t have anything to do with the
shooting[.]” Id. None of this information is inconsistent with Smith’s testimony. Smith
testified that he, not Phillip, shot Gardner. Smith also testified that Phillip was waiting for
Smith one block over from where the shooting was to take place. (T. 2058-2071).
Furthermore, even assuming Phillip possessed such a recording, it is of no moment as Gardner
had no knowledge of Phillip’s involvement in the meetings where Osborne, Hernandez, Phillip
and Smith discussed the plan to kill him as he obviously was not present for that meeting.

               Fourth and finally, Phillip asserts that eye witnesses to the shooting failed to
identify him or Osborne as being present at the shooting. Id. at 20. With the exception of
Gardner, who originally identified Osborne as the shooter, this assertion is correct. However,
civilian eyewitnesses did not identify anyone. Nor were there any attempted identifications
with civilians. Therefore, nothing about civilian witnesses’ inability to make any identification
contradicts Smith’s testimony. Regardless, the government did not elicit evidence that Phillip
or Osborne were present for the shooting because they were not present.

                For these reasons, the Affidavit of Phillip fails to demonstrate that any aspect of
Smith’s testimony was false. Indeed, Osborne posits no evidence that demonstrates that Smith
testified falsely. Similarly, even assuming arguendo that Osborne could establish that Smith
testified falsely, which he has utterly failed to do, Osborne does not, and cannot, demonstrate
that the government was aware of this purportedly false testimony.

III.   Osborne’s Davis Claim Is Without Merit

               In Ground Four of his petition, Osborne claims that his convictions for 924(c)
violations related to the attempted murder of Gardner and the two Hobbs Act robberies
(Trackside and Fish) must be vacated in light of the Supreme Court’s recent decision in
United States v. Davis, 139 S. Ct. 2319. While Davis invalidated some of the predicate


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crimes of violence for Osborne’s 924(c) convictions, namely, Hobbs Act robbery conspiracy
and conspiracy to murder and assault Maurice Gardner, those 924(c) convictions also rested
on still valid predicate crimes of violence, namely, substantive Hobbs Act robbery, attempted
murder, assault and witness retaliation. Accordingly, Osborne’s claims fail.

   A. Johnson II and its Progeny

                In Johnson II, the Supreme Court ruled that the portion of the Armed Career
Criminal Act defining the term “violent felony” to include any felony that “involves conduct
that presents a serious potential risk of physical injury to another,” 18 U.S.C.
§ 924(e)(2)(B)(ii), was unconstitutionally vague. 135 S. Ct. 2557-60. Thereafter, defendants
sought to apply its reasoning to, among other criminal statutes, 18 U.S.C. § 924(c). That
section imposes a mandatory consecutive term of imprisonment when a defendant uses or
carries a firearm during, or possesses a firearm in furtherance of, a crime of violence or drug
trafficking crime. A “crime of violence” is a federal felony that:

              (A) has as an element the use, attempted use, or threatened
              use of physical force against the person or property of another
              (the “Elements Clause”), or

              (B)    that by its nature, involves a substantial risk that physical
              force against the person or property of another may be used in
              the course of committing the offense (the “Residual Clause”).

18 U.S.C. § 924(c)(3). Because the language of subsection (B) resembles in some ways the
“violent felony” definition struck down in Johnson II, defendants have argued that the
Residual Clause is unconstitutional for the same reasons.

               In Sessions v. Dimaya, 138 S. Ct. 1204 (2018), the Supreme Court ruled that
the definition of “crime of violence” found in 18 U.S.C. § 16(b) suffered from the same
vagueness problems that Johnson II had found to be fatal to section 924(e)(2)(B)(ii),
rendering section 16(b) unconstitutional as well. The Court explained that section 16(b) both
“calls for a court to identify a crime’s ‘ordinary case’ in order to measure the crime’s risk”
and also creates “uncertainty about the level of risk that makes a crime ‘violent.’ ” 138 S. Ct.
at 1215. In the course of its ruling, the Court rejected the government’s arguments
attempting to distinguish section 16(b) from section 924(e)(2)(B)(ii). Id. at 1218-23.

                The Second Circuit first addressed a Johnson II-based challenge to
section 924(c) in United States v. Hill, 890 F.3d 51 (2d Cir. 2018) (amended opinion), which
held that substantive Hobbs Act robbery, using the categorical approach, satisfies Section
924(c)(3)(A)’s Elements Clause. Because the Court was addressing a challenge to the
Elements Clause, it applied the categorical approach. Hill, 890 F.3d at 55; see also United
States v. Ivezaj, 568 F.3d 88, 95 (2d Cir. 2009); United States v. Acosta, 470 F.3d 132, 134-
35 (2d Cir. 2006). “Under the categorical approach, courts identify the minimum criminal
conduct necessary for conviction under a particular statute,” examining only the statutory
definitions of the offense, not the defendant’s conduct in committing it. Hill, 890 F.3d at 55


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(citation omitted). In applying the categorical approach, the Second Circuit is not guided by
hypothetical arguments that a statue may not be construed in a way devoid from real-world
application; rather “there must be ‘a realistic probability, not a theoretical possibility,’ that
the statute at issue could be applied to conduct that does not constitute a crime of violence.”
Hill, 890 F.3d at 56 (quoting Gonzalez v. Duenas-Alvarez, 549 U.S. 183, 193 (2007));
accord Moncrieffe v. Holder, 569 U.S. 184, 191 (2013) (the “focus on the minimum conduct
criminalized by the . . . statute is not an invitation to apply ‘legal imagination’ to the . . .
offense”). Osborne therefore must show that the statute was applied in the “manner for
which he argues” either in his own case or another’s. Id.

              In interpreting the Elements Clause of § 924(c)(3)(A), courts typically look to
the Supreme Court’s decision in Johnson v. United States, 559 U.S. 133, 139-40 (2010)
(“Johnson I”), which interpreted the physical force component of ACCA’s similarly-worded
Elements Clause as meaning “simply ‘violent force — that is, force capable of causing
physical pain or injury to another person.’” Hill, 890 F.3d at 58 (quoting Johnson I, 559 U.S.
at 140). As the Supreme Court recently found,

               the force necessary to overcome a victim’s physical resistance is
               inherently ‘violent’ in the sense contemplated by Johnson [I]
               and ‘suggest[s] a degree of power that would not be satisfied by
               the merest touching.’ 559 U.S. at 139 . . . . The altercation [in a
               robbery] need not cause pain or injury or even be prolonged; it
               is the physical contest between the criminal and the victim that
               is itself ‘capable of causing physical pain or injury.’ Id., at 140.

Stokeling v. United States, 139 S. Ct. 544, 553 (2019).

                The Second Circuit next addressed a Johnson-II-based challenge to section
924(c)(3)(B)’s Residual Clause in United States v. Barrett, 903 F.3d 166 (2d Cir. 2018)
(“Barrett I”), rev’d in relevant part by United States v. Barrett, 937 F.3d 126 (2d Cir. 2019)
(“Barrett II”), where it: (1) reaffirmed that, in light of Hill, a Hobbs act robbery is
categorically a crime of violence under § 924(c)(3)(a); (2) held that a conspiracy to commit a
Hobbs act robbery is categorically a crime of violence under section 924(c)(3)(b); and
(3) held in the alternative that the logic in Dimaya and Johnson II demands that courts apply
a conduct-specific approach, as opposed to a categorical approach, to section 924(c)’s
residual clause, which avoids constitutional concerns and therefore saves the clause. Barrett
I, 903 F.3d at 174-75, 177-79, 181-84.

                On June 24, 2019, the Supreme Court decided Davis and held that section
924(c)’s residual clause was unconstitutionally vague in light of Dimaya and Johnson II. 139
S. Ct. at 2326-27. While the Davis Court agreed that the conduct-specific approach could
avoid the constitutional concerns identified in Johnson II and Dimaya, it found that the
statutory text did not support the use of the conduct-specific approach. Id. at 2328-29. The
statute’s text required the application of the categorical approach and, accordingly, the
residual clause was unconstitutionally vague under Johnson II and Dimaya. Id. at 2329.



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               Davis has therefore abrogated the Second Circuit’s holding in Barrett I that the
conduct-specific approach applies to section 924(c)’s residual clause and implicitly
abrogated the Second Circuit’s alternative holding that, under a categorical approach, a
conspiracy to commit a crime of violence is itself a crime of violence under the residual
clause. Barrett II, 2019 WL 4121728, at *1-3. Davis did not impact the Second Circuit’s
holding in Hill or its interpretation of the Elements Clause. Barrett II, 937 F.3d at 128.

   B. Discussion

       1. The 924(c) Conviction Relating to the Gardner Shooting Was Predicated on
          Attempted Murder, Assault and Witness Retaliation, All of Which Remain Valid
          Crimes of Violence

                In Count Fourteen, the jury convicted Osborne of discharging a firearm in
connection with the following five crimes of violence: (1) conspiracy to murder Gardner
(Count Nine); (2) attempted murder of Gardner (Count Ten); (3) assault with a dangerous
weapon of Gardner (Count Eleven); (4) witness retaliation of Gardner (Count Twelve); and
(5) witness retaliation conspiracy of Garner (Count Thirteen). Although the jury was not
given a special verdict sheet requiring them to specify which crimes of violence the
government had proven in connection with Count Fourteen, the evidence adduced at trial
overwhelmingly established that the government proved all of those crimes of violence.
Indeed, the jury found Osborne guilty of all of those underlying crimes of violence. While
the government agrees that the two conspiracy counts (Counts Nine and Twelve) are no
longer valid predicate crimes of violence after Davis, the 924(c) conviction rested on three
still valid predicate crimes of violence.

               Indeed, Johnson II and its progeny, including Davis, have not altered the status
of assault and attempted murder as crimes of violence under the Elements Clause because it
requires proof that the defendant used, attempted to use, or threatened to use physical force
against another. The elements of murder in aid of racketeering are (i) murder (ii) “for the
purpose of gaining entrance to or maintaining or increasing position in” (iii) “an enterprise
engaged in racketeering activity.” 16 18 U.S.C. § 1959(a)(1). Murder in aid of racketeering
unquestionably satisfies the Elements Clause:

              And murder, no matter the degree, entails a “use . . . of physical
              force” sufficient to trigger the elements clause of § 924(c); this
              conclusion is compelled because the Supreme Court has defined
              “physical force,” in this context, as “violent force — that is,
              force capable of causing physical pain or injury to another

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              The murder alleged as the underlying offense of the Section 1959(a)(5)
violation was second-degree murder in violation of New York Penal Law § 125.25(1).
Under New York law, a person is guilty of second-degree murder when “[w]ith intent to
cause the death of another person, he causes the death of such person or of a third person.”
N.Y. Penal Law § 125.25(1).


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               person,” Johnson [I], 559 U.S. 133, 140 (2010)—and “[m]urder
               necessarily entails enough force to cause injury since there can
               be no greater injury than death.” Bonilla v. United States, No.
               07-CR-97, 2017 WL 8813076, at *1 (E.D.N.Y. Aug. 23, 2017).

United States v. Russell, 2018 WL 3213274, at *3 (E.D.N.Y. Jun. 29, 2018) (murder alleged
as the underlying violation was second-degree murder in violation of N.Y.P.L. § 125.25(1),
which criminalizes murder when “with intent to cause the death of another person, he causes
the death of such person or a third person”); United States v. Sierra, 782 F. App’x 16, 20 (2d
Cir. 2019) (attempted murder in aid of racketeering qualifies as a “crime of violence”
pursuant to § 924(c)(3)(A)); United States v. Praddy, 729 F. App’x 21, 23 (2d Cir.), cert.
denied sub nom. Jones v. United States, 139 S. Ct. 185 (2018) (attempted murder under New
York law “is a crime ‘unmistakably involving an “attempted use . . . of physical force.”’”)
(quoting United States v. Scott, 681 F. App’x 89, 94-95 (2d Cir. 2017)). The Second Circuit
has rejected an argument that murder cannot be sufficiently forceful since it may be
committed by omission, noting that argument was foreclosed by Hill, which explained that
the “use of physical force can encompass acts undertaken to cause physical harm, even when
the harm occurs indirectly.” Sierra, 782 F. App’x at 20 (quoting Hill, 890 F.3d at 60); see
also Villanueva v. United States, 893 F.3d 123, 129 (2d Cir. 2018) (“the relevant force is the
impact of the substance on the victim, not the impact of the user on the substance”).

                 While a divided panel of the Second Circuit recently held that New York’s
first-degree manslaughter statute was not a “violent felony” for purposes of the ACCA
because there had been cases where state authorities had prosecuted parents who, despite
their duty to act, failed to secure medical treatment for a child who had been beaten or
shaken, resulting in the death of their child, see United States v. Scott, - F.3d - , 2020 WL
1522825, at *5-6 (2d Cir. 2020), Osborne can point to no case where a defendant has been
prosecuted in New York for an intentional attempted murder premised on an omission, see
United States v. Sanchez, 940 F.3d 526, 536 n.8 (11th Cir. 2019); cf. Boykin v. United
States, 16-CV-4185(CM), 2020 WL 774293, at *7 (S.D.N.Y. Feb. 18, 2020) (explaining that
New York’s second-degree murder and first-degree manslaughter have different elements
and that first-degree manslaughter cases are not probative as to whether second-degree
murder and VICAR murder are crimes of violence). The government also can find no such
case. Nor can Osborne show a VICAR attempted murder prosecution premised on an
omission. There is, therefore, no “realistic probability” that the statute at issue in Osborne’s
prosecution “does not constitute a crime of violence.” Hill, 890 F.3d at 56 (quoting Duenas-
Alvarez, 549 U.S. at 193); accord Moncrieffe, 569 U.S. at 191 (the “focus on the minimum
conduct criminalized by the . . . statute is not an invitation to apply ‘legal imagination’ to the
. . . offense”).

               It makes no difference that the predicate crime charged here is an attempted
murder. Applying the plain language of the Elements Clause, an attempt to commit a crime
of violence is itself an attempt to use physical force. The Second Circuit has ruled that
attempts to commit other crimes of violence are themselves crimes of violence. See United
States v. Tabb, 949 F.3d 81, 85–86 (2d Cir. 2020) (Attempted Assault in the Second Degree


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under New York law is categorically a crime of violence for purposes of the Sentencing
Guidelines’ Career Offender provisions); United States v. Sierra, 782 F. App’x 16, 19–20 (2d
Cir. 2019) (“attempted murder is a crime unmistakably involving an attempted use of
physical force” for purposes of Section 924(c)(3)(A)); United States v. Praddy, 729 F. App'x
21, 24 (2d Cir.) (same), cert. denied, 139 S. Ct. 185 (2018) ; United States v. Scott, 681 F.
App’x 89, 95 (2d Cir. 2017) (same), cert. denied, 138 S. Ct. 642 (2018); United States v.
Walker, 442 F.3d 787, 789 (2d Cir. 2006) (Attempted Assault in the Second Degree under
New York law is a “violent felony” under ACCA’s force clause) (reaffirmed by Tabb, 949
F.3d at 85-86).

                As the Seventh Circuit has explained, an attempt to commit a crime of
violence is also a crime of violence. See United States v. Hill, 877 F.3d 717, 719 (7th Cir.
2017) (attempted murder satisfies ACCA’s Elements Clause). This is so for two reasons.
First, to establish that an attempt crime occurred, the government must offer “proof of intent
to commit all elements of the completed crime.” Id. Second, a defendant need not use actual
force to commit a crime of violence because § 924(c)(3)(A) specifies that “attempted force”
is sufficient. Id. Combining these premises, “[w]hen a substantive offense would be a
violent felony under § 924(e) and similar statutes, an attempt to commit that offense also is a
violent felony.”

                Additionally, most courts to consider attempted Hobbs Act robbery have
concluded that it is a crime of violence under Section 924(c)(3)(A). See, e.g., United States
v. St. Hubert, 909 F.3d 335, 351 (11th Cir. 2018) (“attempted Hobbs Act robbery qualifies as
a crime of violence under § 924(c)(3)(A)’s use-of-force clause because that clause expressly
includes ‘attempted use’ of force”); Hill v. United States, 877 F.3d 717, 718-19 (7th Cir.
2017) (“When a substantive offense would be a violent felony under § 924(e) and similar
statutes, an attempt to commit that offense also is a violent felony.”); Brown v. United States,
2016 WL 4491852, at *2 (W.D. Mo. Aug. 25, 2016) (denying § 2255 motion where
underlying convictions were for attempted Hobbs Act robbery and brandishing a weapon in
furtherance thereof because attempted Hobbs Act robbery is a crime of violence and denying
a certificate of appealability); Camacho v. United States, 2018 WL 889456, at *9 (S.D. Fla.
Jan. 22, 2018) (“Hobbs Act robbery and attempted Hobbs Act robbery are categorically
crimes of violence.”), report and recommendation adopted, 2018 WL 898229 (S.D. Fla. Feb.
13, 2018); United States v. Johnson, 2018 WL 3518448, at *4 (D. Nev. Jul. 19, 2018);
United States v. Crawford, 2018 WL 1123879, at *2 (W.D. Okla. Mar. 1, 2018); see also
Charlton v. United States, 725 F. App’x 881 (11th Cir. 2018) (aiding and abetting an
attempted Hobbs Act robbery is a crime of violence under the Elements Clause); cf. United
States v. Thrower, 914 F.3d 770, 777 n.6 (2d Cir. 2019) (for purposes of ACCA, “an attempt
to threaten to use force . . . itself constitutes a ‘threatened use of physical force’”); United
States v. Pereira-Gomez, 903 F.3d 155, 166 (2d Cir. 2018) (attempt crimes qualify under
similarly worded Elements Clause under the Sentencing Guidelines; attempt under New
York state law “requires that the action taken by an accused be ‘so near to its
accomplishment that in all reasonable probability the crime itself would have been
committed, but for timely interference.’”); United States v. Armour, 840 F.3d 904, 908-08
(7th Cir. 2016) (attempted armed bank robbery qualifies as a crime of violence under the


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Elements Clause); Leyones v. United States, 2018 WL 1033245, at *6 (E.D.N.Y. Feb. 22,
2018) (attempted bank robbery satisfies Elements Clause).

               Similarly, claims that crime of violence convictions that were established under
an aiding and abetting theory mean that a defendant could have been convicted without his
having committed a sufficiently forceful act, have been repeatedly rejected. Because aiders
and abettors are “punishable as a principal,” 18 U.S.C. § 2, they are no different under the
categorical approach than the defendant who actually commits the substantive offense.
“Aiding and abetting is simply an alternative theory of liability; it is “not a distinct substantive
crime.” United States v. Richardson, 906 F.3d 417, 426 (6th Cir. 2018) (“For purposes of
sustaining a conviction under § 924(c), it makes no difference whether Richardson was an
aider and abettor or a principal.”) (quoting United States v. McGee, 529 F.3d 691, 695-96 (6th
Cir. 2008)). Other Circuits have rejected such arguments in addressing Johnson I-based
challenges to Hobbs Act robbery predicate convictions. “Because an aider and abettor is
responsible for the acts of the principal as a matter of law, an aider and abettor of a Hobbs Act
robbery necessarily commits all the elements of a principal Hobbs Act robbery.” United States
v. Deiter, 890 F.3d 1203, 1215 (10th Cir. 2018) (quoting In re Colon, 826 F.3d 1301, 1305
(11th Cir. 2016)); accord United States v. Garcia-Ortiz, 904 F.3d 102, 109 (1st Cir. 2018)
(rejecting argument that aiding and abetting Hobbs Act robbery cannot categorically constitute
a crime of violence); United States v. Tibbs, 685 F. App’x 456, 465 (6th Cir. 2017) (same);
Colon, 826 F.3d at 1305 (“Because an aider and abettor is responsible for the acts of the
principal as a matter of law, an aider and abettor of a Hobbs Act robbery necessarily commits
all the elements of a principal Hobbs Act robbery.”).

               Indeed, the Second Circuit in Stuckey v. United States, 878 F.3d 62 (2d Cir.
2017), rejected a similar argument by a petitioner challenging his conviction under ACCA who
asserted that his first-degree robbery conviction did not satisfy Johnson I and Leocal 17 because
a co-defendant could have discharged a firearm without the defendant intending for such
violence to occur. The Second Circuit explained that

               ACCA requires only a threshold intent to engage in criminal
               conduct. The New York statute satisfies this standard because
               the state must first establish the defendant’s intent to commit
               robbery, and separately establish that during that robbery, a
               member of the robbery committed one of the aggravating acts for
               an enhanced penalty to apply.

878 F.3d at 70-71. Ordering the murder of an individual that results in the attempted murder
and assault of that intended target clearly would satisfy the Elements Clause.




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               See Leocal v. Ashcroft, 543 U.S. 1 (2004).


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             In sum, because Osborne’s 924(c) conviction (Count Fourteen) was predicated
on attempted murder, which remains a valid predicate crime of violence, Osborne’s claim
fails.

               Likewise, Osborne’s 924(c) conviction was predicated on assault in aid of
racketeering. There can be no serious dispute that assault with a deadly weapon in aid of
racketeering categorically qualifies as a “crime of violence” under Section 924(c)(3)(A)
because it requires proof that the defendant used, attempted to use or threatened to use
physical force against another. See United States v. Houston, 732 F. App’x 24, 29 (2d Cir.
2018) (assault in the first degree with intent to cause physical injury to another in violation of
N.Y.P.L. § 120.10(1) satisfies the Elements Clause of the Sentencing Guidelines); United
States v. Walker, 442 F.3d 787, 788 (2d Cir. 2006) (“[C]ategorically, his conviction [of
attempted assault in the second degree] involved an attempt to cause physical injury by
means of a deadly weapon or dangerous instrument: To (attempt to) cause physical injury by
means of a deadly weapon or dangerous instrument is necessarily to (attempt to) use
‘physical force,’ on any reasonable interpretation of that term. . . .”); Rodney v. United
States, 2019 WL 2571150, at *4 (E.D.N.Y. Jun. 20, 2019) (assault in aid of racketeering);
Young v. United States, 2019 WL 2162946, at *5 (E.D.N.Y. May 16, 2019) (assault in the
first degree with intent to cause serious physical injury). In fact, the Second Circuit recently
held in a summary order after Davis, that the exact same statute at issue here, namely, assault
in violation of New York State Penal Law § 120.05(2), was a crime of violence under the
Elements Clause. See United States v. Michael Smith, 19-CR-1624 at 4-5(2nd Cir. May 20,
2020) (affirming Section 924(c) conviction where the predicate crime of violence was assault
in violation of N.Y.P.L. § 120.05(2)) (summary order), a copy of which is attached hereto as
Exhibit 2.

               Moreover, in analogous contexts, the Second Circuit has held after Johnson II,
that N.Y.P.L. § 120.05(2) constitutes a “crime of violence” under the Elements Clause of the
statute or Sentencing Guideline provision at issue. See Tabb, 949 F.3d at 84-85 (holding that
N.Y.P.L. § 120.05(2) was a “crime of violence” for purposes of the Career Offender
Guidelines); Singh v. Barr, 939 F.3d 457, 463-64 (2d Cir. 2019) (per curiam) (a conviction
for N.Y.P.L. § 120.05(2) is an aggravated felony that satisfies 18 U.S.C. § 16(a)). No
persuasive argument exists for treating this provision different here.

             Accordingly, because assault remains a valid predicate crime of violence,
Osborne’s 924(c) conviction should not be disturbed.

                Furthermore, Osborne’s 924(c) conviction was also predicated on witness
retaliation, in violation of 18 U.S.C. 1513(a)(1)(B), which provides, in relevant part:
“[w]hoever kills or attempts to kill another person with intent to retaliate against any person
for …providing to a law enforcement officer any information relating to the commission or
possible commission of a Federal offense …shall be punished[.]” When analyzing this very
statute, post-Johnson II, under the categorical approach, the Fourth Circuit held that witness
retaliation by murder is “a crime of violence under § 924(c)’s force clause because it has an
element the use, attempted use, or threatened use of physical force against the person.” In re
Irby, 858 F.3d 231, 234 (4th Cir. 2017) (internal quotations and citations omitted); see also,

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United States v. Bowen, 936 F.3d 1091, 1102-1103 (10th Cir. 2019) (holding that witness
retaliation under Section 1513(b) is not a crime of violence because while “witness
retaliation through bodily injury qualifies as a crime of violence under 924(c)(3)’s elements
clause, but witness retaliation through property damage does not.”). As noted above, an
attempt to commit a crime of violence is a crime of violence. Here, because “one cannot
unlawfully kill a human being without a use of physical force capable of causing pain or
injury to another…retaliatory murder falls within the force clause.” In re Irby, 858 F.3d at
238.
                Therefore, as with attempted murder and assault, because witness retaliation in
violation of 1513(a)(1)(B) remains a valid predicate crime of violence, Osborne’s 924(c)
conviction should not be disturbed.

               Because Osborne failed to raise a vagueness challenge before trial or object to
the jury charge in a way relevant to the Davis issue, his claim should be reviewed for plain
error. “Plain error” is error that is clear or obvious, which affected the defendant’s
substantial rights and seriously impugns the “fairness, integrity, or public reputation of
judicial proceedings.” United States v. Marcus, 560 U.S. 258, 262 (2010) (internal quotation
marks omitted). Had Osborne raised a timely challenge, the Court could have easily required
a special verdict form in relation to the 924(c) charges or the government could have elected
to pursue the valid predicates in the indictment. Having failed to object, Osborne should not
reap a windfall now that the law has changed in his favor where his convictions indisputably
involved violent crimes such as attempted murder, assault and robbery; instead, Osborne
should prevail only if the error prejudiced him. See Skilling v. United States, 561 U.S. 358,
414 (2010) (constitutional error occurs if jury is instructed on alternative theories of guilt,
one of which is legally invalid, but that error is subject to harmless-error analysis).

               Any error in the Court’s instruction permitting the jury to predicate the 924(c)
conviction on the murder conspiracy was harmless because the jury necessarily also
predicated the conviction on the attempted murder or assault, which, as discussed above,
qualify as crimes of violence under Section 924(c)’s Elements Clause.

               If there are multiple possible bases for finding a predicate crime of violence
under Section 924(c), collateral relief is unwarranted unless the petitioner can establish that
the jury necessarily relied solely on a predicate offense that constituted a crime of violence
under the Residual Clause as opposed to the Elements Clause, and the offense would not
qualify as a “drug trafficking crime” under Section 924(c)(2). See United States v. Ventura,
742 F. App’x 575, 578 (2d Cir. 2018) (finding no plain error in Johnson II challenge to a
Section 924(c) conviction linked to arson and drug trafficking because the jury needed only
to find the drug trafficking predicate (or both)), cert denied, 2019 WL 4921442 (Oct. 7,
2019); United States v. Vasquez, 672 F. App’x 56, 61 (2d Cir. 2016) (finding “no Yates
concern arises from a possible defect in a related ‘crime of violence’ predicate” where
verdict was supported by narcotics predicates); United States v. John, 2017 WL 318804, at
*1 n.1 (E.D.N.Y. Jan. 23, 2017) (rejecting argument that court failed to require jury to
unanimously agree which of four crimes supported conviction of firearms offense because
“the jury validly reached a unanimously guilty verdict on every predicate crime alleged” and,


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thus, “the erroneous jury instruction was necessarily harmless”) (quoting United States v.
Gomez, 580 F.3d 94, 104 (2d Cir. 2009)); see also United States v. Anglin, 16-2065, CDE 41
at 1 (2d Cir. Aug. 20, 2019) (“Because we conclude that bank robbery under § 2113(a) and
(d) remains a proper predicate offense after Johnson, Dimaya, and Davis, and because only
one predicate offense is required, we need not decide whether the conspiracy conviction is
also a crime of violence after those decisions.”).

               There is no rational basis upon which the jury could have predicated the
924(c) conviction on the conspiracy but not the attempted murder or assault. The 924(c)
count alleged the use of a firearm during and in relation to the assault and attempted murder
of Gardner, and the only dangerous weapon used in connection with those crimes was a
firearm. Because the jury convicted Osborne of the assault and attempted murder of
Gardner, there can be no dispute that the jury predicated the 924(c) conviction on the use of a
firearm during those crimes. See Vasquez, 672 F. App’x at 61 (affirming Section 924(c)
convictions where invalid robbery and valid narcotics conspiracy predicates were
inextricably intertwined and jury found narcotics predicate proved, such that there was no
possibility verdict rested only on invalid robbery predicate). Accordingly, any error in
instructing the jury that it could predicate the 924(c) conviction on the conspiracy count was
harmless.

       2. The 924(c) Conviction Relating to the Fish and Trackside Robberies Were
          Predicated on Substantive Robbery, Which Remains a Valid Crime of Violence

                In Count Five, the jury convicted Osborne of brandishing firearms in
connection with the following two crimes of violence: (1) Hobbs Act robbery conspiracy (the
Fish Robbery) (Count Three); and (2) substantive robbery (Count Five). In Count Eight, the
jury convicted Osborne of brandishing firearms in connection with the following two crimes
of violence: (1) Hobbs Act robbery conspiracy (the Trackside Robbery) (Count Six); and (2)
substantive robbery (Count Seven). As set forth above, although there was no special verdict
sheet, the evidence adduced at trial overwhelmingly established that the government proved
all of those crimes of violence. Indeed, the jury found Osborne guilty of both the substantive
robberies and the conspiracy counts for each of the two different robberies. Because the two
924(c) convictions were predicated on substantive robbery counts, which remain valid crimes
of violence after Davis, Osborne’s motion to dismiss those counts fails.

               The Hobbs Act provides, in relevant part that “[w]hoever in any way or degree
obstructs, delays, or affects commerce or the movement of any article or commodity in
commerce, by robbery … or attempts or conspires so to do” shall be guilty of an offense. 18
U.S.C. § 1951(a). Robbery is defined as:
              The unlawful taking or obtaining of personal property from the
              person or in the presence of another, against his will, by means of
              actual or threatened force, or violence, or fear of injury,
              immediate or future, to his person or property, or property in his
              custody or possession, or the person or property of a relative or



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               member of his family or of anyone in his company at the time of
               the taking or obtaining.

18 U.S.C. § 1951(b)(1).

               As set forth above, following Davis, the Second Circuit held in Barrett v. United
States, 937 F.3d at 129–30 (2d Cir. 2019), that conspiracy to commit Hobbs Act robbery did
not qualify as a crime of violence under the Force Clause, which is the only remaining
enforceable definition of “crime of violence” in Section 924(c).

               By contrast, the Second Circuit has held that substantive Hobbs Act robbery is
a crime of violence under the Elements Clause. See Hill, 890 F.3d at 53, 60. That ruling is
unaffected by Davis. See Barrett, 937 F.3d at 128-29 (affirming Section 924(c) convictions
predicated on substantive Hobbs Act robbery following Davis based upon Hill). As the Court
in Hill explained, “[t]o determine whether an offense is a crime of violence [under Section
924(c)(3)(A)], courts employ what has come to be known as the categorical approach.” Hill,
890 F.3d at 55 (citing, inter alia, Taylor v. United States, 495 U.S. 575, 600 (1990)). Under
the categorical approach, “courts identify the minimum criminal conduct necessary for
conviction under a particular statute. In doing so, courts look only to the statutory definitions
— i.e., the elements — of the offense, and not to the particular underlying facts.” Id. (quoting,
inter alia, Descamps v. United States, 570 U.S. 254, 257 (2013)). In other words, “[t]he
reviewing court cannot go behind the offense as it was charged to reach its own determination
as to whether the underlying facts qualify the offense as, in this case, a crime of violence.” Id.

                Applying these principles, the Second Circuit in Hill ruled that substantive
Hobbs Act robbery is a crime of violence under the Force Clause. The Court noted that its
conclusion was consistent with the unanimous view of other circuits and with the Second
Circuit’s precedent holding that state law robbery satisfied the similarly-worded definition of
a “violent felony” for purposes of the Armed Career Criminal Act (“ACCA”)), 18 U.S.C. §
924(e)(2)(B)(i). Id. at 56 (citing Stuckey v. United States, 878 F.3d 62, 70 (2d Cir. 2017)
(finding New York First Degree Robbery a violent felony), cert. denied, 139 S. Ct. 161
(2018), and United States v. Bordeaux, 886 F.3d 189, 194 (2d Cir. 2018) (finding
Connecticut First Degree Robbery a violent felony)). In light of the plain language of the
Hobbs Act, which requires proof of the use of “actual or threatened force, or violence, or fear
of injury” to the person or property of another, the Hill Court could “discern no persuasive
basis to depart from these ample authorities.” Id. The Court rejected the defendant’s various
hypothetical arguments as to how Hobbs Act robbery might be committed in a way that
would “not include the element necessary to qualify such robberies as crimes of violence for
the purpose of § 924(c)(3)(A).” Id. at 57; see id. at 57-60.

              This result is in accord with every other Circuit court to consider the issue since
Johnson II. See, e.g., United States v. Garcia-Ortiz, - F.3d -, 2018 WL 4403947, *3-5 (1st Cir.
2018); United States v. Greer, 734 F. App’x 125, 128-29 (3d Cir. 2018); United States v. Buck,
847 F.3d 267, 274-75 (5th Cir. 2017); United States v. Gooch, 850 F.3d 285, 290-92 (6th Cir.
2017); United States v. Ingram, 947 F.3d 1021, 1025–26 (7th Cir. 2020); United States v.


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Rivera, 847 F.3d 847, 848-49 (7th Cir. 2017); Diaz v. United States, 863 F.3d 781, 783-84 (8th
Cir. 2017); United States v. Dominguez, 954 F.3d 1251 (9th Cir. 2020); United States v.
Howard, 650 F. App’x 466, 467-68 (9th Cir. 2016); United States v. Moreno, 665 F. App’x
678, 680-81 (10th Cir. 2016); United States v. St. Hubert, 909 F.3d 335, 346 (11th Cir. 2018).

              In sum, because Hobbs Act robbery is a crime of violence, Osborne’s § 924(c)
convictions relating to the Fish and Trackside robberies are properly predicated on crimes of
violence under § 924(c)(3)(A). Therefore, Osborne’s Davis claim lacks merit and should be
denied. 18

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               Because Osborne’s petition on its face “show[s] that the prisoner is entitled to
no relief,” this matter should be disposed of without an evidentiary hearing. 28 U.S.C. §
2255(b); see also Garcia Montalvo v. United States, 862 F.2d 425, 426-27 (2d Cir. 1988).




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              Osborne’s petition does not mention his additional 924(c) convictions, one
which was based upon the attempted murder in-aid-of racketeering and assault in-aid-of
racketeering of rival Bloods member Johnny Green, and the other which was based upon
Osborne possessing firearms in furtherance of a conspiracy to distribute controlled
substances. As set forth above, attempted murder and assault are still valid predicate crimes
of violence. Indeed, Osborne’s 924(c) charge related to the shooting of Green was not
predicated upon a conspiracy count in any way, and therefore, Davis is inapplicable. Further,
Johnson II and its progeny have nothing to do with Osborne’s Section 924(c) conviction
predicated upon the conspiracy to distribute controlled substances. For that conviction,
Osborne was not convicted under Section 924(c)(3) but under Section 924(c)(2). Section
924(c)’s definition of a “drug trafficking crime” lacks a residual clause and is not
impermissible vague. See, e.g., McCoy v. United States, 2017 WL 1291766, *1-2 (S.D.N.Y.
Apr. 7, 2017). Therefore, Osborne cannot establish any basis for relief related to the other
924(c) convictions.


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                                      CONCLUSION

              For the foregoing reasons, the Court should deny Osborne’s petition in its
entirety.

                                                  Respectfully submitted,

                                                  SETH DUCHARME
                                                  Acting United States Attorney

                                          By:      /s/
                                                  Michael R. Maffei
                                                  Christopher C. Caffarone
                                                  Nicole Boeckmann
                                                  Assistant U.S. Attorneys
                                                  (631) 715-7890/7868/7855


cc:    Clerk of the Court (JS) (by ECF)

       Raphael Osborne, Register No. 83520-053 (by U.S. Mail)
       USP Pollock
       United States Penitentiary
       P.O. Box 2099
       Pollock, LA 71467




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